   Case 5:18-cv-00496-FJS-DEP Document 62-3 Filed 08/31/18 Page 1 of 16




     UNrrnu Sr¡,rns Drstnlcr Counr
Fon rsp NonrHnnN Drsrmcr on Npw YoRx

JOHN DOE #1, JOHN DOE #2, JOHN DOE
#3, JOHN DOE #4, JOHN DOE #5, JOHN
DOE #6, JOHN DOE #7, JOHN DOE #8'
and JOHN DOE #90

                            Plaintifß,        Case   No.:   5:18-cv-496 (FJS/DEP)
      v

SYRACUSE UNIVERSITY' KENT
SYVERUD, individually and as Chancellor
of Syracuse University' ROBERT
HRADSKY, individually and as Syracuse
University Dean of Students and Associate
Vice President of the Student Experiencen
and TERESA ABI-NADER DAHLBERG'
individually and as the Dean of the College
of Engineering and Computer Science,

                            Defendants




                         MEMORANDUM OF LAW
   IN SUPPORT OF PLAINTIFFS' MOTION PURSUANT TO FED. R. CIV. P. a1(a)(2)
           SEEKING VOLUNTARY DISMISSAL WITHOUT PREJUDICE




          (s085 14r2. r )
    Case 5:18-cv-00496-FJS-DEP Document 62-3 Filed 08/31/18 Page 2 of 16




                                              TABLE OF AUTHORITIES


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                                                                                                                11



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          {s0851412.1 }
    Case 5:18-cv-00496-FJS-DEP Document 62-3 Filed 08/31/18 Page 3 of 16




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  at *5 (S.D.N.Y. SePt. 2,2008)

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         {s085r432.1 }
   Case 5:18-cv-00496-FJS-DEP Document 62-3 Filed 08/31/18 Page 4 of 16




       PIAiNtiffS, JOHN DOE #1, JOHN DOE #2, JOHN DOE #3' JOHN DOE
                                                                   #4' JOHN DOE

                                                                   through their
#5, JOHN DOE #6, JOHN DOE #7, JOHN DOE #8, and JOHN DOE #9, by and

attomeys, Smith, Sovik, Kendrick & Sugnet, P.C., submit this Memorandum of
                                                                           Law in support of

their motion to voluntarily dismiss this Action without prejudice.

                                 PRELIMINARY STATEMENT

       Seven of the nine   plaintiffs in this   case have commenced an action    utilizing a specialized,

expedited state-law procedure with no federal analogue-Article 78             of the New York Civil

practice Law and Rules-to undo the unlawful disciplinary determinations rendered by

Defendant/Respondent, syracuse university, which have resulted in indefînite suspensions
                                                                                         of at

least one to two years. Now that the Article 78 proceeding is properly
                                                                       pending in state court,

plaintifß agree with Defendants' contention and the concerns of Supreme Court in Jefferson

County that this action and the Article 78 proceeding should be litigated in one
                                                                                 forum. Thus,

plaintiffs, goal is to voluntarily dismiss this action and refile it in state court   so they and the non-


plaintiff Article 7g petitioners can litigate all their claims-for damages and equitable relieÊ-in       a


court that has unquestionable subject-matter jurisdiction over the entire dispute.

                                                                                               that
        Defendant/Respondent, Syracuse University, has thwarted Plaintiffs' ability to achieve

                                                                                      pending motion
goal by doing an end run around a proposal to stipulate to refile this action and the

to dismiss in Jefferson County upon service of a Notice under Fed. R. Civ. P. 41.
                                                                                  (Dkt. # 47).

 The actions of the Defendant/Respondent university show that while           it claims to be concerned

                                                                               defending its unlawful
 about plaintiffs, purportedooforum shopping," it is really only interested in

                                                                               stated that Plaintiffs
 actions in one place - this Court. Ironically, Defense counsel has repeatedly

 have the right to choose their forum, while doing everything possible to
                                                                          denying them that          righ.

 plaintiffs chose state court to litigate their Article 78 claims out of concem regarding subject-




         {s08s1432.1)
                                                      2
    Case 5:18-cv-00496-FJS-DEP Document 62-3 Filed 08/31/18 Page 5 of 16




                                                                         resolution offered by the
matter jurisdiction and the inability to obtain the speedy and efficient

N.Y. C.P.L.R.

        To defend against Defendants' unwarranted and legally unsupported efforts to force
plaintiffs to litigate their administrative review claims here, Plaintiffs have brought the present

motion seeking Court leave for a voluntary discontinuance without
                                                                  prejudice. Each of the five

                                                                         favors an Order
factors set forth in Zagano v. Fordham Univ,,900 F.2d 12 (2d Cir. 1990),
                                                                             have diligently sought
permitting voluntary dismissal of this case without prejudice: 1) Plaintiffs

dismissal of this action; 2) plaintifß have acted in in good faith; 3)
                                                                       This case is in its infancy (i.e.,

                                                                             of expense if the action
discovery has not even opened); a) There will be little, if any, duplication

is relitigated elsewhere; and 5)
                                 plaintiffs have legitimate concerns about jurisdiction in this Court,

and should not be forced to waive their right to use a specialized,
                                                                    expedited state-law procedure to


review the University' s improper disciplinary determinations.

                                                ARGUMENT

         ,,Although voluntary dismissal without prejudice is not a matter of right, courts in thß


 circuít presume tltøt ø party,s motíon        to   dismiss its own cløíms wìthout preiudice should be

 grønted:, Anderson v. tJnited States,2012          wL   257127I, at * 1 (N.D.N.Y. 2012) (quoting Staten

                                                    *3 (E.D.N.Y. May 23,2012)); Karker                  v'
 Island Terminal, LLC v. Elberg,2012 WL 1887126, at

 Tougher Industs., Inc.,2013      wL     316389, at *1 (N.D.N.Y. Jan' 28,2013) (same); accordGap, Inc'

                                         . 5g4,5sg (s.D.N .y.1997). "The (JnÍted     støtes supreme court
 v. stone   Int,l rrading,   169 F.R.D


 recognized long ago thøt starting a litigatíon. all over again does
                                                                     not constítute legøl preiadice'"


 D'Alto v. Dahotn Caliþrnia, Inc.,l00 F.3d 281,              253   (zdCir. 1996) (quoting Jones v' SEC'298

                                                             Laboratories, Inc., 1999   WL   102749, af *2
 U.S.   l, 9 (1936)); Lutts v. Smithkline Clinical



                                                         J
            {s0851432.1}
    Case 5:18-cv-00496-FJS-DEP Document 62-3 Filed 08/31/18 Page 6 of 16




                                                       be required to defend a second action has
O{.D.N.Y. ßgg)(..[T]he factthata defendant wilt likely

been found to be insufficient reason to deny a dismissal'")'

          G                                                                             F



        ,,Where all parties to pending litigation agree to discontinue the action, they may do so

                                                                                    (N.D.N.Y.
without an order of the court." Beer v. John Hancock Life Ins. co.,211 F.R.D. 67,68
           ,,[w]here, as here, the parties cannot agree on the termination of the action, a court
2002). But

order is necessary.,,        1d In such situations,   the Second Circuit has identified five factors that a

Court should consider when determining whether to grant           a   voluntary dismissal without prejudice:


                      tll     the plaintifls diligence in bringing the motion;
                      Í2]     any 'undue vexatiousness' on plaintiff s part;
                      i¡l     the extent to which the suit has progressed, including the
                              defendant's effort and expense in preparation for trial;
                       t4]    the duplicative expense of relitigation; and
                       iSl    the adàquacy of plaintiff s explanation for the need to dismiss.

        Zagano v. Fordham (Jniv.,900 F.2d 12, 14 (2d Cír. 1990) (citations omitted).
                                                                                     "These


factors are not necessarily exhaustive and no one of them, singly or in combination
                                                                                    with another'

 is dispositive.,' Kwanv. schein,634 F.3d 224,230 (2dCir.2011).

        A. Plaintiffs        Have Been Dilisent in Brinsine this Motion

        plaintiffs have made this motion four months after commencing this action, less than three

                                                                          on defendant Syracuse
 weeks after commencing a related state court Article 78 proceeding based

                                                                                 three days after
 University,s issuance of final disciplinary determinations on July 26,2018, and

 defendants       filed an Answer to the complaint which precluded Plaintiffs from voluntarily
                                                                party was diligent or not in
 discontinuing without a court order. "when analyzing whether a

                                                                     party encouraged the non-
 bringing a motion, courts have focused on whether or not the moving

 moving party to continue discovery without any intention of pursuing
                                                                      its claims." Morehouse v'



         {s085 r432. I }
                                                          4
   Case 5:18-cv-00496-FJS-DEP Document 62-3 Filed 08/31/18 Page 7 of 16




york,20l6wL94252,at*2(N.D.N.Y. Jan.7,2016)(quoting shaw FamilyArchives, Ltd'v. cMG

worldwide, Inc.,200g        wL     412754g,at *5 (S.D.N.y. sept. 2,2009). There are two timelines that

must be considered when determining             if   a Plaintiff has been diligent in seeking voluntary

dismissal. First, a Court must consider "the length of time an action has been
                                                                               pending'" Id.

Second, a Court must consider whether Plaintiffs diligently sought relief
                                                                          "after the events that led

to their decision not to pursue the action at this time." Hinfin Realty Corp. v.
                                                                                 Pittson,206 F.R.D.

350, 355-56 (E.D.N.Y. 2003). Under both timelines, Plaintiffs have been
                                                                        diligent.

       First, when considering the length of time this action has been pending, Plaintiffs
                                                                                           have

                                                                 just over four months ago' on
diligently sought voluntary dismissal. This Action was commenced

 Apri¡24,2018. Dkt.         #1   . ln Morehouse,tNhere   an action was pending for eleven months (almost


three times as long), this Court determined thaf a Plaintiff was diligent
                                                                          in seeking a voluntary

                                                                    af              *2. And, in Morgan
dismissal and granted it without prejudice. Morehouse,20l6WL 94252,

                                      *2 (N.D.N.Y. Sept.16,2013), where an action                   was
v. Town of Dewitt,20l3 WL 5217947, at

pending for over ayeat,this Court found a Plaintiff was diligent in seeking a
                                                                              voluntary dismissal.

        Second, when considering the length of time since the event precipitating
                                                                                  this motion

                                                                                       Article 78
       final appeal determinations rendered by the defendant University, which made an
-the
proceeding ripe          for adjudication in state court-Plaintiffs have diligently sought voluntary
                                                                                forty days later,
dismissal. The University issued its final determinations on July 26,2018. Just

 plaintiffs seek a voruntary dismissar. rn Brown v. cty. of Madison,2015             wL   5750050, at *4

                                                                                 precipitating
 (N.D.N.Y. Zl:s),this Court found that aperiod of a few months between the event
                                                                             implied diligence. And
 the motion to voluntarily dismiss and the plaintiff s filing of that motion

 in Morgan,zll3          wL   5217947, at*2, ashere, the time period between the event precipitating the

                                                                         diligent.
 motion and filing of the motion was a few weeks which this Court deemed




                                                          5
         {s08s1432.1 }
    Case 5:18-cv-00496-FJS-DEP Document 62-3 Filed 08/31/18 Page 8 of 16



                                                                                          plan to
       Finally, it was only four days ago that Defendants' thwarted Plaintiffs' announced

dismiss this action voluntarily and refile it, along with the pending motion
                                                                             to dismiss, in state court.

                                                                        damages claims
Despite an open-and unresponded to-request to consent to have the money

heard in front of Supreme Court, Jefferson County after this Action was voluntarily
                                                                                    dismissed,

                                                                                 presented here, to
Defendants, filed an Answer, which precipitated Plaintiffs alternative strategy,

obtain voluntary dismissal without prejudice which Plaintiffs have swiftly implemented.

        Based on plaintiffs' efforts to act as quickly as possible to file the present
                                                                                       motion, this

factor cuts in favor of a voluntary dismissal without prejudice.

        B. Plaintiffs           Have Acted in Good Faith

        ,ooljndue vexatiousness' requires a finding            of ill-motive."'   Banco Central de Paraguay

v. Paraguay Humanitarian Foundation, hnc.,2006                 v/L 3456521, at *6 (S'D.N.Y. Nov' 30, 2006)
                                                                           *3 (S.D.N'Y' Sept'
(quoting Jewelers Vigilance Comm., Inc. v. Vitale Inc., 1997 WL 5S2823, at

 lg, lggT)).       Thus,   if   a court "finds that the lawsuit was filed in good faith, and that the legal

arguments and litigation strategies employed by [Plaintiffs] were neíther malícious,
                                                                                     norfrívolous,

                                                                              World Holdings,
nor otherwise improper," thenthis factor favors dismissal. Gtobal One Comm'ns

B.V. v. Gaul,2008          wL      2783429, at *1 Q.{.D.N.Y. July 16, 2008) (emphasis added)' There is

 nothing to suggest undue vexatiousness here'
                                                                                             relief in
         To the contrary, the actions taken by Plaintiffs show a good faith effort to obtain

 this Court. plaintiffs commenced this Action in order to seek injunctive relief from                    an


 unauthorized quasi-suspension-imposed by Defendants in the critical
                                                                     final weeks of the Spring

                                                                                 Thus,
 201g semester-se¿ Dkt. # 2 (emergency motion filed one day after commencement).

 plaintiffs sought judicial intervention to reverse the university's improper quasi-suspension and

 restore the plaintiffs to their pre-quasi-suspension status. Galin v.
                                                                       Chassin,2lT A.D.2d 446,447




         {s085 1432. I )
                                                           6
    Case 5:18-cv-00496-FJS-DEP Document 62-3 Filed 08/31/18 Page 9 of 16




(lst Dep't 1995) (ooThus, as a general principle,         absent extraordinary circumstances, courts are

                                                                                                       to
constrained not            to interject themselves into ongoing administrative proceedings [pursuant
                                                                                            Tomaselli,
Article 7g] until final resolution of those proceedings before the agency ."); Schachter v.

105 A.D.2    d 77g,          780 (2d Dep't 1934) (same). Ultimately, the University agreed to make

                                                                                which resulted in
alternative arrangements for the students to take exams and finish the semester

withdrawal of Plaintiffs' request for a preliminary injunction' See DþJ' #       7   '


        During the period between the University's Conduct Board ("UCB") decisions, rendered

on June 5, 201g, and the University's Appeal Board            ("UAB")    decisions, rendered on July 26,

                                                                                  prematurely
201g, the University improperly held Plaintiffs' transcripts and then marked them

                                                                                        on appeal
with the notations of the disciplinary determinations which were still being challenged
                                        plaintiffs sought injunctive relief to force the university
by the students. SeeDkt.# 14. while the

to lift its unwarranted holds and release unmarked transcripts, there was no final administrative

action to challenge by way of Article           78. Dkt. # 14; Galin,2l7 A.D.zd at 447; Schachter, 105
                                                                                           relief
A.D.2d at7g0. This Court's decision denying Plaintiffs' request for preliminary injunctive

on the transcript issue did not deem Plaintiffs' motion       frivolous. Dkt. # 24. To the contrary, aftet

                                                                              heightened standard
 supplemental briefing, this court's decision was based solely on whether the

 for mandatory injunctions was met. Text order re: Minute Entry for 6l2tll8 Motion Hearing.
                                                                              (prohibitory or
 (,,The Court directs further briefing as to which standard should be applied

 mandatory); the public interest and the status quo."); Dkt. #s     2l &,22 (supplemental briefing); Dkt'
                                                                               limited contractual
 # 24 (order denying relief). This Court neither adjudicated the merits of the
                                                                                 Plaintifß'
 claim regarding premature marking of transcripts, nor made any determination on

 remaining breach of contract or defamation claims'




         {s08s r432. I }
                                                         7
     Case 5:18-cv-00496-FJS-DEP Document 62-3 Filed 08/31/18 Page 10 of 16



                                                                                        nearly
        On July 26,20Ig, the University's UAB finally rendered appeal decisions after a

seven week delay, which gave standing to Plaintiffs and others to             file an Article 78 proceeding for

reversal and expungement of the unlawful disciplinary action. Contrary to defense
                                                                                  counsel's


repeated misstatements, plaintiffs never committed to add the Article 78 claims
                                                                                to the Federal

Action; indeed, counsel for Defendants expre ssly admìtted to Plaintiffs' counsel that no such

representation had ever been made just days before once again misleading this Court
                                                                                    by saying

plaintiffs affirmatively promised to bring their Article 78 claims here. Dkt. # $.1

        Thus, on August 3,2018, Plaintiffs filed and served the Second Amended Complaint,

which supplemented the previous allegations to include claims for additional money damages

based on entry of the unsupported          UAB decisions, but   d.id.   not seekrelief under Article 78. Dkt. #

42

         On August 13,20Ig, seven of the nine John Doe Plaintiffs, along with three
                                                                                    petitioners


who are residents of New york and were ineligible to be Plaintiffs in this case, filed
                                                                                       an Article 78


proceeding       in        Supreme Court, Jefferson County seeking         to overturn the University's UAB
               ,.Article 78 proceeding"). For the first time in any court, petitioners in the Article
decisions (the

                                                                              and asked for a
7g proceeding requested that the UAB determinations be "vacated and annulled"

                                                                                   of that proceeding.
stay of all disciplinary action, including suspensions, pending a final resolution

Dkt. # 51, Exh. D,P.47.

         On August 22,2018            during oral argument in Jefferson County on petitioners'     stay request,

                                                                                proceeding and the
 the court expressed its preference that the parties consolidate the Article 78




 I Further, given the serious doubt regarding this Court's ability to adjudicate     an Article 78
 proceeding]th.r. is no reason why phiñtiffs would have made such a representation, which
                                                                                             would
                                                                  jurisdiction-never existed in this
 subject thãir entire case to the uncertainty that subject-matter
 Action as to the Article 78 claims. See infra, pp' 13-14'


         (s085 1432. l )
                                                          8
   Case 5:18-cv-00496-FJS-DEP Document 62-3 Filed 08/31/18 Page 11 of 16



                                                                           about the potential for
claims in the Federal Action in one forum after defense counsel complained

inconsistent decisions before     it   regarding the common Plaintiffs/Petitioners; accordingly, it

directed the parties there to try to bring all claims before one court. At that
                                                                                time, counsel for

Respondent, Syracuse University, appeared to agree, suggesting that Petitioners'
                                                                                 counsel"add [the

                                                                                   obviously gets
three non-diverse petitionersJ to the federal court uction . . , and ten that case
                                                                                here which are,
remønded to støte court and. . , you øvoid øll these problems that we're having

you're being asked to litigate the same issues." Dkt' # 61-1'

        Since the August 22, 201q appearance          in Jefferson County, Plaintiffs have acted in

furtherance of dismissing/refiling/transferring and/or joining all of their claims
                                                                                   in one state court

                                                                                              of the
forum. Defendants' efforts to thwart this proper strategy, Dkt. # 47, andreject the authority
                                                                             The absence of any
state court to hear petitioners' case2 have necessitated the present motion.

                                                                             tips this factor in favor
evidence of bad faith on the part of Plaintiffs in making the present motion

of voluntary dismissal without prejudice. The only party that is acting in good faith here
                                                                                           is


Respondent/Defendant, Syracuse University.

        c.    This Action has Not Proceeded to an Advanced stase,
              So a \¡oluntarv Dismissal without Preiudice is Viable

        ,,Generally,
                        [the third Zagano) factor weighs against
                                                                 dismissal without prejudice only   if

 the case has progressed to an advanced stage, such as the eve of trial or
                                                                           when discovery is complete


 and partial dispositive motions have been adjudicated." Morehouse,2016
                                                                                   WL 94252, at *2

                                                                                   has been
 (intemal citations omitted). Even where "fairly significant documentary discovery




 2 while it claims a desire to litigate its claims in one forum, the University chose to file an order
                                                                                 stay of the Supreme
 to Show Cause seeking leave to ieargu. and/or file an immediate appeal and
                                                                               This action was taken
 Court,s order. ,see Feñer Declaration, Exhibit "4" (order to Show Cause).
 after the University previously moved to dismiss the Article 78
                                                                    proceeding. Thus, the University
                                                                               here'
 is actively litigatingìhe state court case which it claims should be resolved


         {s0851432.1}
                                                     9
   Case 5:18-cv-00496-FJS-DEP Document 62-3 Filed 08/31/18 Page 12 of 16




exchanged, witnesses have been deposed, the parties have engaged in some motion practice," this

Court has found that the third factor can weigh in favor of dismissal. Brown,2015 WL 5750050,

at *5.

         Am. Fed. of State, Cty. & Municipal Emp'ees Dist. Council 37 Health and Sec. Plan                      v.


pfìzer, Inc.,2013 WL23gl7!3, att4 (S.D.N.Y. June 3, 2013), is instructive on this point. There,

a defendant argued that a case had progressed to an advanced stage because it had filed a Rule

12(c) motion for judgment on the pleadings. The Southern District squarely held otherwise:                  "[t]o

the corrtrary, the case is at avery early   stage-a motion on the pleadings-and the litigation started

less than ayear ago." Am. Fed. of State, Cty.        & Municipal Emp'ees,2013 WL 2391713, at*4.

Notably, the Southern District observed, "but for          the   føct that [DefendøntJ ftled      ìts   Answer"

whíle making a motíon       to dísmíss, uPlaintffi would have been able to voluntørily              dismíss ìts


compløint øs amatter of ríghtunderRule a1(a)(l)(A)(i)" whichvitiated any "significantprejudice

to fDefendant] under this Zagano factot." Id'

         This action is in its earliest phases. Defendants have sought, and been granted, three

extensions of time to answer the operative pleadings. Dkt. #s           l0 &   ll;   l2'&'   13; 26 &' 27   .   No

Case Management Plan has been        filed and no initial disclosures have been made. Fed. R. Civ.               P.


 16;26 (a)     (l); 26 (Ð. No discovery   has been exchanged.      A motion to dismiss the Complaint            has


been made pursuant to Fed. R. Civ. P. 12 (b) (6), but this fact alone does not alter the status
                                                                                                of this

action which is still in its infancy. Am. Fed. of State, Cty.           & Municipal Emp'ees,2013 WL

 2391713, at *4.

          As a result, this factor cuts in favor of a voluntary dismissal without prejudice.




          {s085 1432. l }
                                                      10
     Case 5:18-cv-00496-FJS-DEP Document 62-3 Filed 08/31/18 Page 13 of 16




         D. There is Little Dunlicative   Expense that is Likelv to Result from
             Dismissine this Action Without Preiudice

         The fourth Zagøno factor, whether expenses would be duplicated     if   an action was


discontinued and another action was subsequently commenced, is closely related to the third

factor. Thus, it is well established that where "Defendants have filed only an Answer and a

Motion to Dismiss, which likely could be reused in large part if Plaintiff refiled her action," the

fourth factor favors dismissal. Morgan,2013 WL 5217947, at*2. "[T]he mere fact that [a

defendant] may have to continue to defend against the claims . . . in a second action' . .
                                                                                           is


insufficient.") Brown,2015 WL 5750050, at*6; D'Alto,100 F.3d at283 (quoting Jones,298
                                     *2 (N.D.N.Y. 1999)'
U.S. at 9); Lutts,1999 WL 102749, at

         Dismissing this action without prejudice will not result in duplicative expenses; instead, as

Defendants' conduct in the past eight days establishes, it will result in cost savings. Ever
                                                                                             since


Respondent/Defendant Syracuse University claimed         it would be prejudiced by litigating in two

forums, it has done nothing but prevent joinder of the two actions and pit each court against the

other by filing competing Orders to Show Cause. Indeed, while spuriously accusing Plaintiffs
                                                                                                      of

ooforum shopping," Respondent/Defendant, Syracuse University, has taken drastic and legally


unsupportable steps to delay efficient resolution of these disputes and has dramatically
                                                                                         increased


litigation expenses for both sides.

          Dismissing this action without prejudice will achieve the "single forum" end Defendants

purportedly want in this case and allow Jefferson County to adjudicate all pending claims.3 Dkt.




 3
     If the actions were both commenced in  state court, the remedy ofjoint pre-trial proceedings is
 available as between two actions pending in New York State Supreme Court. See
                                                                                    C.P.L.R, 602(b)
 (o,Cases pending in different routtr. Where an action is pending in the supreme
                                                                                 court it may, upon
 motion, remove to itself an action pending in another court and consolidate          it or have it tried
 together with that in the supreme court.")


          {so8sl432.l}
                                                   11
   Case 5:18-cv-00496-FJS-DEP Document 62-3 Filed 08/31/18 Page 14 of 16




# 6I-2, p. 13:5-13:Il;             id. at p.22:9-22:17 ("fTlhat's a very real problem which          I   would


respectfully suggest needs to be addressed. . .         . []t's not fair to the University to have to defend
the same issues in different courts."). To the extent Defendants argue that they incurred
                                                                                          the


expense    of    defending TRO and preliminary injunction motions, these were preliminary
                                                                                                is
proceedings. Moreover, this Court has already held that filing an answer or a motion to dismiss

sufficient to tip this factor in favor of a litigant who objects to voluntarily dismissal. See
                                                                                               e.g',


Morgan,20l3 WL 5217947, af *2; Brown,2015 WL 5750050, at*.6'

        As a result, this factor cuts in favor of a voluntary dismissal without prejudice.

        E. plaintiffs Are Entitled to Litisate Their Breach of Contract 4nd Defamation
           ffirticle                          78 claims in a Forum of rheir choice.which
              ffi-Matter                                 and Personal Jurisdiction over the Entire
              Dispute

        plaintiffs have four compelling reasons for granting a voluntary dismissal without

prejudice:

        First, plaintiffs agree with Defendants and Jefferson County Supreme Court that all of their

claims should be litigated in one forum to avoid inconsistent results. Plaintiffs'
                                                                                   initial decision to

commence this action and seek preliminary injunctive relief does not bind them
                                                                               to federal court

                                                                                               that
forever. Instead, because the nature of the Article 78 special proceeding necessarily dictates

 it will proceed far quicker in state court than         a plenary action   in federal court, Plaintiffs have    a


 legitimate interest in litigating all their claims there'

         Second,         if   the case remains in federal court, the specter of subject-matter jurisdiction

 problems-a non-waivable, non-consentable impediment to a decision on the merits that can be
                                                                                   78 proceeding.
 raised at any time by any party or by any court sua sponte-will cloud the Article

 plummer v, Cty. of Warren,2014WL2534975,at *5 (N.D.N.Y. June 5,2014) ("[This Court] has

                                                                             proceeding as neither
 no orìgìnal or supplemental subject matter jurßdìction over [an] Article 78



          {s0851432.1}
                                                          t2
   Case 5:18-cv-00496-FJS-DEP Document 62-3 Filed 08/31/18 Page 15 of 16




federal nor New          york state law empower the federal courts to consider such claims, and, under

New york law, authority to grant relief pursuant to an Article 78 proceeding is exclusively
                                                                                            vested

                                                                                       Guinee,
in New york Supreme Court."); Ins. Corp. of lreland, Ltd. v. Compagnie des Bauxites de

45 U.S. 694,702 (lgsz) (,,The validity of an order of a federal court depends upon that court's

having jurisdiction over both the subject matter and the parties.");    /d ("[N]o action of the parties
                                                                                           psrties is
can confer subject-matter jurisdiction upon a federal court . . . [and] the consent of the

@!;').
         Third, if the cases remain in two court systems, there is no meaningful way to coordinate

the two actions. Instead, the only option available would be                to   stay this action while

plaintiffs/petitioners proceed with their Article 78 claims. E. End Eruv Ass'n, Inc. v. Town of

southampton,2014wL 4g26226,at*17-21(E.D.N.Y. Sept. 24, 2014), is instructive. There, the

plaintiffs sought various relief, including Article 78 relief, in federal court. E. End Eruv Ass'n,

 2AI4   WL 4g26226, at*17. After dispensing with the notion that an Article        78 proceeding should

                                                                                           the
be heard in federal court by marshalling the case law discussed above, the Court dismissed

Article 7g claims and stayed the federal court action until the Article 78 proceeding was concluded.

Id. at*2L       Thus, uncler E. End Eruv Ass'n,this action should be stayed even     if the Court retains

jurisdiction over the breach of contract and defamation claims.

          Fourth, plaintiffs should not be compelled to waive the unique state law special proceeding

 procedure merely because they seek monetary damages for injuries caused by the University's

 misdeeds. While Defendants conectly note that Plaintiffs had the right to choose their forum'
                                                                                               that


 choice, once made, is not unequivocally binding on Plaintiffs      . ln Anderson v. United States, this
                   .,plaintiff very clearly explains that she is seeking a dismissal of the non-federal
 Court noted

 defendants so that she may instead proceed with claims in state court" as a valid
                                                                                   explanation of




          {s0851432.1}
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   Case 5:18-cv-00496-FJS-DEP Document 62-3 Filed 08/31/18 Page 16 of 16




the request for a dismissal without prejudice. Anderson, 2012 WL 2571271,
                                                                          at *2; see also

                                                                             they have brought
catazano v. wing,277 F.3dgg,ll0 (2dcir.2001) ("Plaintiffs' explanation, that

the motion in order to facilitate an end to the litigation but that they wish to
                                                                                 avoid preclusive effects


of the district court's ruling on this claim, is adequate'")

        Thus, the fourth factor also favors voluntary dismissal without prejudice.

                                                  CONCLUSION

                                                                                          granting
        For the foregoing reasons, Plaintiffs respectfully request an Order of this Court

plaintiffs     a   voluntary dismissal of this action without prejudice pursuant to Fed' R. Civ.   P' al   (a)


(2), andfor such further relief       as   this Court deems fair, just, and equitable.


Dated: August 31,2018                                  sMrTH, SOVIK, KENDRTCK & SUGNET' P.C.



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             {s085 1432. I }
